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8                       IN THE UNITED STATES DISTRICT COURT

9                          EASTERN DISTRICT OF CALIFORNIA

10
     UNITED STATES OF AMERICA,                  ) CASE NO. 2:13-cr-00078 MCE
11                                              )
                         Plaintiff,             )
12                                              ) STIPULATION AND ORDER
     v.                                         )
13                                              )
       LITTANOVONE KEOPADUBSY,                  )
14                                              )
                         Defendant.             ) Judge: Hon. Morrison C. England
15                                              )
                                                )
16                                              )
                                                )
17                                              )
                                                )
18
            IT IS HEREBY STIPULATED by and between: Assistant United
19
     States Attorney Paul Hemesath, counsel for Plaintiff, and Mark Reichel,
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21   counsel for LITTANOVONE KEOPADUBSY, that a change-of-plea hearing be

22   set for and that the matter be re-calendared for December 11, 2014, at
23   9:00 a.m.   This request is made jointly by the government and defense
24
     in order to permit time for continued preparation, including
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     investigation which is currently in progress, and plea negotiations.
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     Defense counsel is reviewing substantial discovery materials, including
27
     hours of video and audio recordings concerning the alleged conduct.
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                                            1
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     The parties agree that the interests of justice served by granting this
1
     continuance outweigh the best interests of the public and the defendant
2

3    in a speedy trial.

4              IT IS FURTHER STIPULATED that time be excluded between October

5    23, 2014, and December 11, 2014, pursuant to 18 U.S.C. §
6
     3161(h)(7)(B)(iv), Local Code T-4. 1
7
     Dated: November 13, 2014                       /s/ Paul Hemesath
8                                                   Paul Hemesath
                                                    Assistant United States Attorney
9                                                   Counsel for Plaintiff
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11   Dated: November 13, 2014                       /s/ Mark Reichel
                                                    Mark Reichel
12                                                  Counsel for Defendant
                                                    LITTANOVONE KEOPADUBSY
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14                                         O R D E R
15
               The interests of justice served by granting this continuance
16
     outweigh the best interests of the public and the defendant in a speedy
17
     trial.
18
               IT IS SO ORDERED.
19
     DATED: November 20, 2014
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21                                          _____________________________________________
                                            MORRISON  N C. ENGLLAND, JR, C
                                                                         CHIEF JUDG  GE
22
                                            UNITED ST TATES DISSTRICT COU  URT
23

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     1
26       The parties have stipulated, by previous motion, to exclude time from
         October 23, 2014 through November 13, 2014. This stipulation and proposed
27       order covers that time period and the additional time period through the
         proposed hearing date.
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